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      Fill in this information to identify your case:

      United States Bankruptcy Court for the:




      Case number (If known): _________________________ Chapter you are filing under:
                                                                 Chapter 7
                                                                                                                             Check if this is an
                                                                 Chapter 11
                                                                 Chapter 12
                                                                                                                             amended filing
                                                                 Chapter 13




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                     12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:     Identify Yourself

                                       About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):
 1.   Your full name
                                       __________________________________________________          __________________________________________________
      Write the name that is on your   First name                                                  First name
      government-issued picture
      identification (for example,     __________________________________________________          __________________________________________________
      your driver’s license or         Middle name                                                 Middle name
      passport).                       __________________________________________________          __________________________________________________
                                       Last name                                                   Last name
      Bring your picture
      identification to your meeting   ___________________________                                 ___________________________
      with the trustee.                Suffix (Sr., Jr., II, III)                                  Suffix (Sr., Jr., II, III)



 2.   All other names you              __________________________________________________          __________________________________________________
                                       First name                                                  First name
      have used in the last 8
      years                            __________________________________________________          __________________________________________________
                                       Middle name                                                 Middle name
      Include your married or
      maiden names and any              __________________________________________________         __________________________________________________
                                       Last name                                                   Last name
      assumed, trade names and
      doing business as names.         __________________________________________________          __________________________________________________
                                       First name                                                  First name
      Do NOT list the name of any
                                       __________________________________________________          __________________________________________________
      separate legal entity such as
                                       Middle name                                                 Middle name
      a corporation, partnership, or
      LLC that is not filing this      __________________________________________________          __________________________________________________
      petition.                        Last name                                                   Last name

                                       __________________________________________________          __________________________________________________
                                       Business name (if applicable)                               Business name (if applicable)

                                       __________________________________________________          __________________________________________________
                                       Business name (if applicable)                               Business name (if applicable)




 3.   Only the last 4 digits of
      your Social Security             xxx      – xx – ____ ____ ____ ____                         xxx      – xx – ____ ____ ____ ____
      number or federal                OR                                                          OR
      Individual Taxpayer
      Identification number            9 xx – xx – ____ ____ ____ ____                             9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
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Debtor 1      _______________________________________________________                             Case number (if known)_____________________________________
              First Name   Middle Name           Last Name



                                         About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


 4.   Your Employer                      ___ ___ – ___ ___ ___ ___ ___ ___ ___                          ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number              EIN                                                            EIN
      (EIN), if any.
                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                          ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                            EIN



 5.   Where you live                                                                                    If Debtor 2 lives at a different address:



                                         _________________________________________________              _________________________________________________
                                         Number     Street                                              Number     Street


                                         _________________________________________________              _________________________________________________


                                         _________________________________________________              _________________________________________________
                                         City                            State   ZIP Code               City                            State   ZIP Code

                                         _________________________________________________              _________________________________________________
                                         County                                                         County


                                         If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                         above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.                    any notices to this mailing address.


                                         _________________________________________________              _________________________________________________
                                         Number     Street                                              Number     Street

                                         _________________________________________________              _________________________________________________
                                         P.O. Box                                                       P.O. Box

                                         _________________________________________________              _________________________________________________
                                         City                            State   ZIP Code               City                            State   ZIP Code




 6.   Why you are choosing               Check one:                                                     Check one:
      this district to file for
                                            Over the last 180 days before filing this petition,             Over the last 180 days before filing this petition,
      bankruptcy
                                            I have lived in this district longer than in any                I have lived in this district longer than in any
                                            other district.                                                 other district.

                                            I have another reason. Explain.                                 I have another reason. Explain.
                                            (See 28 U.S.C. § 1408.)                                         (See 28 U.S.C. § 1408.)
                                            ________________________________________                        ________________________________________
                                            ________________________________________                        ________________________________________
                                            ________________________________________                        ________________________________________
                                            ________________________________________                        ________________________________________




  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
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Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                              Chapter 7
      under
                                              Chapter 11
                                              Chapter 12
                                              Chapter 13


8.    How you will pay the fee                I will pay the entire fee when I file my petition.
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may                                                          attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                              I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                      No
      bankruptcy within the
      last 8 years?                           Yes. District __________________________ When       _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10. Are any bankruptcy                        No
      cases pending or being
      filed by a spouse who is                Yes. Debtor _________________________________________________ Relationship to you        _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11. Do you rent your                          No. Go to line 12.
      residence?                              Yes. Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1      _______________________________________________________                                  Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                    No. Go to Part 4.
    of any full- or part-time
    business?                                    Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 _______________________________________________         _______      __________________________
                                                       City                                                   State        ZIP Code


                                                      Check the appropriate box to describe your business:
                                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                           None of the above


13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor
    Chapter 11 of the                                                                    so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code and                       are a small business debtor                                                        , you must attach your
                                              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
                                              if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor
                                                 No. I am not filing under Chapter 11.
             ?                                   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                        the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).




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Debtor 1      _______________________________________________________                     Case number (if known)_____________________________________
              First Name    Middle Name        Last Name




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               No
     property that poses or is
     alleged to pose a threat             Yes. What is the hazard?     ________________________________________________________________________
     of imminent and
     identifiable hazard to                                            ________________________________________________________________________
     public health or safety?
     Or do you own any
     property that needs
                                                If immediate attention is needed, why is it needed? _______________________________________________
     immediate attention?
     For example, do you own                                           ________________________________________________________________________
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                Where is the property? ________________________________________________________________________
                                                                       Number        Street


                                                                       ________________________________________________________________________

                                                                       ________________________________________ _______        ____________________
                                                                       City                                     State          ZIP Code




  Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                              page 5
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Debtor 1      _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit                   You must check one:                                                You must check one:
   counseling.
                                              I received a briefing from an approved credit                      I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you                 I received a briefing from an approved credit                      I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities           I certify that I asked for credit counseling                       I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                              I am not required to receive a briefing about                      I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.     I have a mental illness or a mental                 Incapacity.    I have a mental illness or a mental
                                                                 deficiency that makes me                                           deficiency that makes me
                                                                 incapable of realizing or making                                   incapable of realizing or making
                                                                 rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.     My physical disability causes me                    Disability.    My physical disability causes me
                                                                 to be unable to participate in a                                   to be unable to participate in a
                                                                 briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                 through the internet, even after I                                 through the internet, even after I
                                                                 reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty. I am currently on active military                      Active duty. I am currently on active military
                                                              duty in a military combat zone.                                     duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                         page
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Debtor 1     _______________________________________________________                                Case number (if known)_____________________________________
             First Name    Middle Name             Last Name




Part 6:    Answer These Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do
    you have?
                                                  No. Go to line 16b.
                                                  Yes. Go to line 17.
                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                                  No. Go to line 16c.
                                                  Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts.
                                              _______________________________________________________________

17. Are you filing under
    Chapter 7?                              No. I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after              Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                      No
    administrative expenses
    are paid that funds will be                       Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                   1-49                                    1,000-5,000                                25,001-50,000
    you estimate that you                   50-99                                   5,001-10,000                               50,001-100,000
    owe?                                    100-199                                 10,001-25,000                              More than 100,000
                                            200-999

19. How much do you                         $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
    estimate your assets to                 $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
    be worth?                               $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                            $500,001-$1 million                     $100,000,001-$500 million                  More than $50 billion

20. How much do you                         $0-$50,000                              $1,000,001-$10 million                     $500,000,001-$1 billion
   estimate your liabilities                $50,001-$100,000                        $10,000,001-$50 million                    $1,000,000,001-$10 billion
   to be?                                   $100,001-$500,000                       $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                            $500,001-$1 million                     $100,000,001-$500 million                  More than $50 billion
Part 7:    Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                            ______________________________________________                  _____________________________
                                            Signature of Debtor 1                                           Signature of Debtor 2

                                            Executed on _________________                                   Executed on __________________
                                                               MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                       page
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Debtor 1     _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                            _________________________________                               Date           _________________
                                           Signature of Attorney for Debtor                                                MM    /     DD / YYYY




                                           _________________________________________________________________________________________________
                                           Printed name

                                           _________________________________________________________________________________________________
                                           Firm name

                                           _________________________________________________________________________________________________
                                           Number Street

                                           _________________________________________________________________________________________________

                                           ______________________________________________________ ____________ ______________________________
                                           City                                                   State        ZIP Code




                                           Contact phone _____________________________________             Email address   ______________________________




                                           ______________________________________________________ ____________
                                           Bar number                                             State




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                                  UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW HAMPSHIRE
In re:
Grant S. Phillips,                                                             Bk. No. 24-
                       Debtor                                                  Chapter 7


                            VERIFICATION OF CREDITOR MAILING LIST

     The above named debtor hereby certifies under penalty of perjury that the attached master mailing list of creditors,
consisting of 2 pages is complete, correct and consistent with the debtor’s schedules pursuant to LBRs and assumes
all responsibility for errors and omissions.



Date: April 16, 2024                                                 /s/Grant S. Phillips
                                                                     Debtor Signature
                                                                     Grant S. Phillips
                                                                     Print Name




LBF 1007-2 (Eff. 11/1/16)
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Altus Receivables Management
2121 Airline Drive Suite 520
Metairie, LA 70001

Amazon Capital Services dbd
Amazon Lending
Amazon A n: General Counsel
410 Terry Avenue North
Sea le, WA 98109

American Express
P.O. Box 981537
El Paso, TX 79998

Barclays Bank Delaware
P.O. Box 8802
Wilmington, DE 19899-8802

Capital One
P.O. Box 31293
Salt Lake City, UT 84131

Cavalry Por olio Services
500 Summit Lake Drive
Valhalla, NY 10595

Centralized Insolvency Opera on
2970 Market Street
Mail Stop 5-Q30.133
Philadelphia, PA 19104-5016

Ci bank
A n: Bankruptcy Dept.
P.O. Box 6497
Sioux Falls, SD 57117

Dept of Ed/Nelnet
121 South 13th Street
Lincoln, NE 68508

Exeter Hospital
21 Hampton Rd Ste 301
Exeter, NH 03833

Financial Recovery Services
1345 Mendota Heights Road
Suite 100
Mendota Heights, MN 55120
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First Source Advantage LLC
205 Bryant Woods S
Buﬀalo, NY 14228

JPMCB Card Services
301 N Walnut Street, FL 09
Wilmington, DE 19801

Kabbage KServicing
3370 N. Hayden Road #123
PMB 681
Sco sdale, AZ 85251

LVNV Funding LLC
55 Bea e Place
Greenville, SC 29601

Midland Credit Management, Inc.
320 E Big Beaver Road Ste 300
Troy, MI 48083

Por olio Recovery Associates
120 Corporate BLVD, Ste 100
Norfolk, VA 23502

Radius Global Solu ons, LLC
P.O. Box 357
Ramsey, NJ 07446-0357

The Schreiber Law Firm LLC
53 S les Rd b201
Salem, NH 03079

Transworld System Inc
P.O. Box 15095
Wilmington DE 19850 866-291-6365

Verizon Wireless/Southeast
P.O. Box 26055
Nat'l Recovery Dept. M.S. 400
Minneapolis, MN 55426

Zwicker & Associates
80 Minuteman Road
Andover, MA 01810
